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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE:        OIL SPILL by the OIL RIG
                                 *                                   MDL No. 2179
              “DEEPWATER HORIZON” in the
                                 *
              GULF OF MEXICO, on *                                   SECTION J
              APRIL 20, 2010     *
                                 *                                   JUDGE BARBIER
THIS DOCUMENT RELATES:           *                                   MAG. JUDGE SHUSHAN
                                 *
IN RE: TRITON ASSET LEASING GmbH *
Case No. 2:10-cv-02771-CJB-SS    *
                                 *
*********************************


                   MEMORANDUM IN SUPPORT OF
              MOTION FOR ACCEPTANCE OF LIMITATION
   SHORT FORM JOINDER FILED AFTER THE SEPTEMBER 16, 2011 DEADLINE

       NOW INTO COURT, through undersigned counsel, comes Claimant, Columbia Street

Seafood LLC who files this Memorandum in Support of the accompanying Motion for Acceptance

of Limitation Short Form Joinder Filed after the September 16, 2011 Deadline. Claimant seeks this

Honorable Court’s permission to accept Claimant’s late-filed joinder, filed March 16, 2012,

Document No. 117985, in the limitation proceeding for the following reasons:

       1.     Claimant was unaware of the deadline as he just recently retained counsel.

       2.     Upon a showing of good cause the Court should grant permission to file late claims

              if the “limitation proceeding is pending and undetermined, and the right of the parties
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              are not adversely affected.” Texas Gulf Sulphur Co. v. Blue Stack Towing Co., 313

              F.3d 359, 362 (5th Cir. 1963) (citing 3 Benedict on Admiralty § 518, p. 542 (Knauth

              ed. 1940).

       3.     No prejudice will result from the acceptance of the Claimant’s Short Form Joinder.

              No action has been taken in the limitation proceeding which could cause prejudice

              to any other party to the proceeding.

       4.     The Transocean limitation proceeding is pending and undetermined.

       For these reasons, Claimant respectfully moves this Court for an Order accepting his late-

filed joinder, Document No.117985 filed March 16, 2012, and granting the accompanying Motion

for Acceptance of Limitation Short Form Joinder Filed after the September 16, 2011 Deadline.

                                                      Respectfully submitted:

                                                      /s/ Franklin G. Shaw
                                                      Franklin G. Shaw, Bar No. 1594
                                                      LEGER & SHAW
                                                      512 E. Boston Street
                                                      Covington, LA 70433
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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 16, 2012, I electronically filed the foregoing document with

the Clerk of Court for the United States District Court of the Eastern District of Louisiana via the

CM/ECF System which will provide notice to all counsel of record.

                                                     /s/ Franklin G. Shaw
                                                     __________________________________
                                                     FRANKLIN G. SHAW




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